Case 1:20-cv-07311-LAK Document 152-8 Filed 05/11/23 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

E. JEAN CARROLL, )
} This Petition applies
Plaintiff, ) to both of the below Case Numbers:
)
v. ) Civil Action No.: 1:20-cv-7311 (LAK)
) Civil Action No.: 1:22-cv-10016 (LAK)
DONALD J. TRUMP, )
) CERTIFICATE OF
Defendant. ) SERVICE BY MAIL

 

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STATE OF NORTH DAKOTA)
)S5
COUNTY OF BURLEIGH _ )

I, Darlene Schaper, being over the age of 18, under penalty of perjury, depose and state:
that on May 5, 2023, I served the two parties to this case, and also the Judge and the Clerk of
Court, the following: PETITION TO ADDRESS AND REMONSTRANCE THIS COURT, and
a copy of this Certificate of Service by Maii, by mailing each party one copy of the Petition To
Address and Remonstrance this Court, but two copies to the Judge, and a copy of this Certificate
of Service by Mail by placing them in an envelope, first class postage prepaid, and placing in the
U.S mail, addressed to each of the persons and addressed as listed below:

Roberta A. Kaplan, Atty. Alina Habba, Atty.

Counsel for Plaintiff Counsel for Defendant

Kaplan, Hecker, & Fink, LLP HABBA MADAIO & ASSOCIATES LLP
350 FIFTH AVENUE, 63rd FLOOR 1430 US Highway 206, Suite 240

NEW YORK, NEW YORK 10118 Bedminster, New Jersey 07921

Joseph Tacopina, Atty. Lewis A. Kaplan, Sr. U.S.Dist. Judge
Counsel for Defendant Daniel Patrick Moynihan

TACOPINA SEIGEL & DEOREO United States Courthouse

275 Madison Avenue, 35th Floor 500 Pearl St., #1940

New York, New York 10016 New York, NY 10007-1312

Ruby J. Krajick, Clerk of U.S. District Court, S.D. New York
Daniel Patrick Moynihan U.S. Courthouse

500 Peart Street

New York, N.Y. 10007
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| declare under penalty of perjury that the foregoing is true and correct.
28 U.S.C. 1746.

Executed on May 5, 2023.
